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     In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 17-1855
                                      (Filed: July 31, 2019)

* * * * * * * * * * * * * *                       *
BARBARA DOLAN,                                    *        UNPUBLISHED
                                                  *
                Petitioner,                       *
                                                  *        Dismissal; Death of Petitioner;
v.                                                *        Lack of Proper Petitioner;
                                                  *        Court of Federal Claims Rule 25
SECRETARY OF HEALTH                               *
AND HUMAN SERVICES,                               *
                                                  *
                Respondent.                       *
                                                  *
* * * * * * * * * * * * * *                       *

Jeffrey S. Pop, Jeffrey S. Pop & Associates, Beverly Hills, CA, for petitioner.
Sarah Christina Duncan, U.S. Dept. of Justice, Washington, DC, for respondent.

                                               DECISION1

Oler, Special Master:

        On November 30, 2017, Barbara Dolan (“Ms. Dolan” or “Petitioner”) timely filed a
petition for compensation under the National Vaccine Injury Compensation Program, 42 U.S.C. §
300aa-10, et seq.2 (“Vaccine Act” or “Program”). Petition (“Pet.”) at 1. Petitioner alleges that she
received an influenza vaccine on October 15, 2015 and thereafter developed Chronic Inflammatory
Demyelinating Polyneuropathy (“CIDP”). Pet. at 1. The petition is now dismissed due to lack of



1
  Although this Decision has been formally designated “unpublished,” it will nevertheless be posted on the
Court of Federal Claims’s website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-
347, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). This means the Decision
will be available to anyone with access to the internet. However, the parties may object to the Decision’s
inclusion of certain kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party
has fourteen days within which to request redaction “of any information furnished by that party: (1) that is
a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b). Otherwise, the whole Decision will be available to the public. Id.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755 (1986). Hereinafter,
for ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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proper plaintiff to maintain the action, as required by Rule 25(a)(1) of the Rules of the Court of
Federal Claims (“RCFC”).

I.     Procedural History

        The petition was filed on November 30, 2017. See Pet. On May 1, 2019, a death certificate
was filed by Petitioner, and, on May 2, 2019, a status report was filed confirming the death of Ms.
Dolan on March 2, 2019, due to causes unrelated to this action. ECF Nos. 24, 25. Petitioner’s
counsel requested time to consult with Ms. Dolan’s husband, the named executor. ECF No. 25 at
1.

        On May 21, 2019, I issued an Order granting Petitioner’s counsel, on behalf of Petitioner,
an opportunity to consult with Ms. Dolan’s husband and determine how he wished to proceed. See
Non-PDF Order of 5/21/2019. Petitioner’s counsel’s status report was due by July 22, 2019, and
all other deadlines were suspended. Id.

        On June 11, 2019, Petitioner’s counsel contacted my chambers and Respondent’s counsel
by means of electronic mail, stating that Ms. Dolan’s husband did not wish to proceed with the
prosecution of the claim. He suggested dismissal of the petition under Vaccine Rule 21(a),
however, was unsure whether that would be possible without substitution of proper party in place
of Petitioner. Since Ms. Dolan’s husband did not wish to be substituted, it was determined that a
dismissal under RCFC Rule 25(a)(1) was the most appropriate method. Petitioner’s counsel would
be provided 90 days from the date of service of a statement noting Petitioner’s death (see ECF No.
25) to file a motion for substitution of the proper party. Petitioner’s counsel confirmed that no
substitution would be filed and that, once the deadline lapsed, I may dismiss the petition.

        Accordingly, I issued an Order on June 24, 2019, directing Petitioner’s counsel, on behalf
of Petitioner, to file a motion for substitution of the proper party by July 30, 2019. See Non-PDF
Order of 6/24/2019.

II.    Legal Standard

       The Vaccine Rules do not address the consequences of the death of the petitioner. Thus, in
the absence of any specific direction, the RCFC apply. See Vaccine Rule 1(c). Rule 25 of the
RCFC states:

       If a party dies and the claim is not extinguished, the court may order substitution of
       the proper party. A motion for substitution may be made by any party or by the
       decedent’s successor or representative. If the motion is not made within 90 days
       after service of a statement noting the death, the action by the decent must be
       dismissed.

RCFC Rule 25(a)(1) (emphasis added).




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III.    Discussion

        The Court was notified of Petitioner’s death via status report on May 2, 2019, which
triggered the time allotted by RCFC Rule 25(a)(1) for a motion for substitution to be filed. See
ECF No. 25. A motion for substitution was not filed within 90 days of the filing of Petitioner’s
counsel’s status report advising of Petitioner’s death. Thus, pursuant to Rule 25(a)(1), the petition
must be dismissed due to the lack of a proper plaintiff to maintain the action.

IV. Conclusion

        For the foregoing reason, this case is dismissed. In the absence of a timely filed motion
for review pursuant to Vaccine Rule 23, the Clerk is directed to enter judgment consistent with
this decision.3

        IT IS SO ORDERED.

                                                          s/ Katherine E. Oler
                                                          Katherine E. Oler
                                                          Special Master




3
 Pursuant to Vaccine Rule 11 (a), if a motion for review is not filed within 30 days after the filing of the
special master’s decision, the clerk will enter judgment immediately.



                                                     3
